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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                       )
                                               )
   v.                                          )       USDC No. 21-cr-207-02 (CRC)
                                               )
Matthew Bokoski,,              defendant.      )

                           UNOPPOSED MOTION FOR PERMISSION
                                TO APPEAR REMOTELY

        Undersigned counsel Nathan I. Silver, II, Esq. (“counsel”), appointed by this Court under

the Criminal Justice Act, respectfully moves the Court to permit him to appear remotely by

videoteleconference (VTC) at the defendant’s in-person sentencing hearing, set for April 4, 2023

at 3 o’clock p.m..

        Counsel is scheduled for hip replacement surgery on May 3, 2023. He is experiencing

severe pain and discomfort. Walking is difficult and aggravates the pain further. Medicines to

relieve the pain have not been effective. Appearing in-person for the hearing with this condition

will be very difficult for counsel.

        Counsel has asked the defendant if he objects to counsel’s request to appear by VTC. He

does not. Counsel has advised the government of his plan to seek permission to appear by VTC.

The government does not object.

         A proposed Order is attached.

        WHEREFORE, the defendant respectfully moves the Court to grant said relief.

                                         This pleading is,

                                      Respectfully submitted,

                                               /s/
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                                CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that a copy of the foregoing pleading has been served via ECF on
Lynnett Wagner, Esq., USDOJ-USAO (Omaha, NE), attorney of record for the United States,
this 30th day of March, 2023.

                                        /s/
                                  _______________________________
                                  Nathan I. Silver, II
